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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



 DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,
                                                              Civil Action No. 2:17-cv-192-JRG
               v.
                                                              JURY TRIAL DEMANDED
 CANON U.S.A., INC.,

                       Defendant.


                                        DISCOVERY ORDER

        After a review of the pleaded claims and defenses in this action, in furtherance of the

 management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

 the input of the parties to this action, it is ORDERED AS FOLLOWS:

 1.     Initial Disclosures.        In lieu of the disclosures required by Federal Rule of Civil

        Procedure 26(a)(1), each party shall disclose to every other party the following

        information:

        (a)    the correct names of the parties to the lawsuit;

        (b)    the name, address, and telephone number of any potential parties;

        (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

               or defenses (the disclosing party need not marshal all evidence that may be

               offered at trial);

        (d)    the name, address, and telephone number of persons having knowledge of

               relevant facts, a brief statement of each identified person’s connection with the
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                case, and a brief, fair summary of the substance of the information known by any

                such person;

        (e)     any indemnity and insuring agreements under which any person or entity carrying

                on an insurance business may be liable to satisfy part or all of a judgment entered

                in this action or to indemnify or reimburse for payments made to satisfy the

                judgment;

        (f)     any settlement agreements relevant to the subject matter of this action; and

        (g)     any statement of any party to the litigation.

 2.     Disclosure of Expert Testimony. A party must disclose to the other parties the identity

        of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

        703 or 705, and:

        (a)     if the witness is one retained or specially employed to provide expert testimony in

                the case or one whose duties as the party’s employee regularly involve giving

                expert testimony, provide the disclosures required by Federal Rule of Civil

                Procedure 26(a)(2)(B) and Local Rule CV-26; and

        (b)     for all other such witnesses, provide the disclosure required by Federal Rule of

                Civil Procedure 26(a)(2)(C).

 3.     Additional Disclosures. Without awaiting a discovery request,1 each party will make the

        following disclosures to every other party:

        (a)     provide the disclosures required by the Patent Rules for the Eastern District of

                Texas with the following modifications to P.R. 3-1 and P.R. 3-3:



        1
          The Court anticipates that this disclosure requirement will obviate the need for requests
 for production.



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               i.   If a party claiming patent infringement asserts that a claim element is a

                    software limitation, the party need not comply with P.R. 3-1 for those

                    claim elements until 30 days after source code for each Accused

                    Instrumentality is produced by the opposing party. Thereafter, the party

                    claiming patent infringement shall identify, on an element-by-element

                    basis for each asserted claim, what source code of each Accused

                    Instrumentality allegedly satisfies the software limitations of the asserted

                    claim elements.

              ii.   If a party claiming patent infringement exercises the provisions of

                    Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                    patent infringement may serve, not later than 30 days after receipt of a

                    Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                    amend only those claim elements identified as software limitations by the

                    party claiming patent infringement.

       (b)   produce or permit the inspection of all documents, electronically stored

             information, and tangible things in the possession, custody, or control of the party

             that are relevant to the pleaded claims or defenses involved in this action, except

             to the extent these disclosures are affected by the time limits set forth in the Patent

             Rules for the Eastern District of Texas; and

       (c)   provide a complete computation of any category of damages claimed by any party

             to the action, and produce or permit the inspection of documents or other

             evidentiary material on which such computation is based, including materials

             bearing on the nature and extent of injuries suffered, except that the disclosure of




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              the computation of damages may be deferred until the time for Expert Disclosures

              if a party will rely on a damages expert.

 4.    Protective Orders. The Court will enter the parties’ Agreed Protective Order.

 5.    Discovery Limitations.      The discovery in this cause is limited to the disclosures

       described in Paragraphs 1-3 together with: 30 interrogatories per side, 60 requests for

       admissions per side, and depositions as follows:

       (a)    Each Side is limited to 25 deposition hours of third parties in this action.

       (b)    Each Side is entitled to take up to 35 hours of deposition testimony of opposing

              Party witnesses, including current officers, directors and employees (both

              30(b)(1) and 30(b)(6) depositions are included).

       (c)    All individual depositions shall be limited to seven hours in accordance with the

              Federal Rules of Civil Procedure.

       (d)    Each Side is limited to three experts, and deposition of those experts will be

              limited to 7 hours per witness per report. (such that, for example, if a side’s

              expert issues a report on claim construction, a report on invalidity, and a report on

              non-infringement, that witness would be subject to one 7-hour day of deposition

              for each of the 3 reports). Depositions of experts are not included in the limits on

              depositions per Side set forth above.

       “Side” means a party or a group of parties with a common interest. Any party may move

       to modify these limitations for good cause.

 6.    Privileged Information.      There is no duty to disclose privileged documents or

       information. However, the parties are directed to meet and confer concerning privileged

       documents or information after the Status Conference. By the deadline set in the Docket




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       Control Order, the parties shall exchange privilege logs identifying the documents or

       information and the basis for any disputed claim of privilege in a manner that, without

       revealing information itself privileged or protected, will enable the other parties to assess

       the applicability of the privilege or protection. Any party may move the Court for an

       order compelling the production of any documents or information identified on any other

       party’s privilege log. If such a motion is made, the party asserting privilege shall respond

       to the motion within the time period provided by Local Rule CV-7. The party asserting

       privilege shall then file with the Court within 30 days of the filing of the motion to

       compel any proof in the form of declarations or affidavits to support their assertions of

       privilege, along with the documents over which privilege is asserted for in camera

       inspection.

 7.    Signature. The disclosures required by this Order shall be made in writing and signed by

       the party or counsel and shall constitute a certification that, to the best of the signer’s

       knowledge, information and belief, such disclosure is complete and correct as of the time

       it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

       otherwise, such disclosures shall be served as provided by Federal Rule of Civil

       Procedure 5. The parties shall promptly file a notice with the Court that the disclosures

       required under this Order have taken place.

 8.    Duty to Supplement. After disclosure is made pursuant to this Order, each party is

       under a duty to supplement or correct its disclosures immediately if the party obtains

       information on the basis of which it knows that the information disclosed was either

       incomplete or incorrect when made, or is no longer complete or true.




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 9.    Discovery Disputes.

       (a)   Except in cases involving claims of privilege, any party entitled to receive

             disclosures (“Requesting Party”) may, after the deadline for making disclosures,

             serve upon a party required to make disclosures (“Responding Party”) a written

             statement, in letter form or otherwise, of any reason why the Requesting Party

             believes that the Responding Party’s disclosures are insufficient. The written

             statement shall list, by category, the items the Requesting Party contends should

             be produced. The parties shall promptly meet and confer. If the parties are

             unable to resolve their dispute, then the Responding Party shall, within 14 days

             after service of the written statement upon it, serve upon the Requesting Party a

             written statement, in letter form or otherwise, which identifies (1) the requested

             items that will be disclosed, if any, and (2) the reasons why any requested items

             will not be disclosed. The Requesting Party may thereafter file a motion to

             compel.

       (b)   An opposed discovery related motion, or any response thereto, shall not exceed 7

             pages. Attachments to a discovery related motion, or a response thereto, shall not

             exceed 5 pages. No further briefing is allowed absent a request or order from the

             Court.

       (c)   Prior to filing any discovery related motion, the parties must fully comply with

             the substantive and procedural conference requirements of Local Rule CV-7(h)

             and (i). Within 72 hours of the Court setting any discovery motion for a hearing,

             each party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet




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              and confer in person or by telephone, without the involvement or participation of

              other attorneys, in an effort to resolve the dispute without Court intervention.

       (d)    Counsel shall promptly notify the Court of the results of that meeting by filing a

              joint report of no more than two pages. Unless excused by the Court, each party’s

              lead attorney shall attend any discovery motion hearing set by the Court (though

              the lead attorney is not required to argue the motion).

       (e)    Any change to a party’s lead attorney designation must be accomplished by

              motion and order.

       (f)    Counsel are directed to contact the chambers of the undersigned for any “hot-line”

              disputes before contacting the Discovery Hotline provided by Local Rule CV-

              26(e). If the undersigned is not available, the parties shall proceed in accordance

              with Local Rule CV-26(e).

 10.   No Excuses. A party is not excused from the requirements of this Discovery Order

       because it has not fully completed its investigation of the case, or because it challenges

       the sufficiency of another party’s disclosures, or because another party has not made its

       disclosures. Absent court order to the contrary, a party is not excused from disclosure

       because there are pending motions to dismiss, to remand or to change venue.

 11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

       copies of any filings.

 12.   Proposed Stipulations by the Parties Regarding Discovery.

       (a)    Items Not Required in Privilege Log: Except as provided under Local Patent Rule

              3-7, the parties shall not be required to identify on a party’s privilege log




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             documents subject to the attorney-client privilege and/or work-product doctrine

             and created on or after the date the Complaint was filed in this action.

       (b)   Except for in camera review by the Court, no party shall use the content of

             information that a producing party asserts is attorney-client privileged or work

             product protected to challenge the asserted privilege or protection.

       (c)   Experts. The parties agree that the following materials shall not be subject to

             discovery in this litigation: (i) draft expert reports; (ii) notes, outlines, and any

             other materials used to prepare any draft expert report; (iii) communications and

             conversations between counsel and testifying or consulting experts, unless such

             conversations or communications are relied upon as a basis for any opinions

             provided in any expert report or expert testimony; (iv) information, analyses,

             opinions, or other materials from any outside consultant or expert, unless such

             information, analyses, opinions, or other materials are relied upon as a basis for

             any opinions provided in an expert report or expert testimony. Materials,

             communications, and other information exempt from discovery under this

             paragraph shall be treated as attorney-work product privileged but need not be

             logged on a privilege log. This provision does not change the existing protections

             for expert discovery and exceptions thereto set forth in Fed. R. Civ. P. 26(b)(4).

       d)    Service. The parties agree to electronic service of all correspondence, documents

             filed under seal, written discovery requests, and responses to written discovery

             requests (unless the volume of electronic information makes such delivery

             impractical). The parties agree that service by email before midnight local time




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              where the court is located shall be considered timely served that day in

              compliance with Local Rule CV-5(a)(3)(C-D).

       e)     The parties agree that e-mails are not included in the scope of documents that will

              be produced in accordance with Paragraph 3 of this Order or under Patent Rule 3-

              4; rather, e-mail discovery will be governed by a separate Order regarding

              Electronic Discovery, which the parties will negotiate and submit for the Court’s

              approval.

 13.   Standing Orders. The parties and counsel are charged with notice of and are required to
 .
       fully comply with each of the Standing Orders of this Court. Such are posted on the

       Court’s website at http://www.txed.uscourts.gov/page1.shtml?location=info:judge&judge=17.

       The substance of some such orders may be included expressly within this Discovery

       Order, while others (including the Court’s Standing Order Regarding Protection of

       Proprietary and/or Confidential Information to Be Presented to the Court During Motion

       and Trial Practice) are incorporated herein by reference. All such standing orders shall be

       binding on the parties and counsel, regardless of whether they are expressly included

       herein or made a part hereof by reference.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 9th day of August, 2017.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE




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